     Case 6:24-cv-01629-WWB-LHP                          Document 30         Filed 11/20/24      Page 1 of 2 PageID 320

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                         MiddleDistrict
                                                    __________ Districtof
                                                                        of__________
                                                                           Florida

                     Defense Distributed,                            )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 6:24-cv-1629
                                                                     )
The Gatalog, Matthew Larosiere, John Elik, Alexander                 )
   Hollady, Peter Celetano, Josh Kiel Stroke, John                   )
 Lettman, The Gatalog Foundation, and MAF Corp.,
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)           John Lettman
                                             29 Bon Air Ave.
                                             Bradford, PA 16701




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Chad Flores, Esq., cf@chadflores.law Flores Law PLLC, 917 Franklin St., Suite 600,
                                            Houston, Texas, 77002; Tel: (713) 364-6640
                                           David Gingras, Esq., david@gingraslaw.com; Gingras Law Office, PLLC, 4802 E. Ray
                                           Road., #23-271, Phoenix, AZ 85044; Tel: (480) 264-1400
                                           F. Andino Reynal, Esq.; areynal@frlaw.us; The Reynal Law Firm, PC, 917 Franklin St.,
                                           6th Floor, Houston, Texas, 77002; Tel: (713) 228-5900

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:
                                                                                          Signature of Clerk or Deputy Clerk
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 Civil Action No. 6:24-cv-1629

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
